                Case 1:21-cv-08940-JPO Document 82 Filed 04/18/23 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
WELLS FARGO BANK, NATIONAL ASSOCIATION,
as Trustee, on behalf of the registered holders of CSAIL
2017-CX10 Commercial Mortgage Trust, Commercial               Case No.: 1:21-cv-08940 (JPO)
Mortgage Pass-Through Certificates, Series 2017-CX10,
and the holder(s) of the related Companion Notes, acting      Hon. J. Paul Oetken
by and through its special servicer, CWCapital Asset
Management LLC,

                    Plaintiff,
           v.
GC SHL, LLC; NEW YORK CITY                                    NOTICE OF MOTION FOR
ENVIRONMENTAL CONTROL BOARD; NEW                              THE APPOINTMENT OF A
YORK CITY DEPARTMENT OF FINANCE; and                          RECEIVER
JOHN DOES # 1 – 50, said John Doe defendants being
fictitious and unknown to Plaintiff, it being intended to
name all other parties who may have some interest in or
lien upon the premises sought to be foreclosed,
                    Defendants.

           PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of Plaintiff’s Motion for the Appointment of a Receiver, the Declaration of Alex Killick sworn to

on April 14, 2023 and the exhibits annexed thereto, the Declaration of Rishi Kapoor sworn to on

April 18, 2023 and the exhibits annexed thereto (the “Kapoor Declaration”), the Declaration of

Chad F. Sorensen sworn to on April 14, 2023 and the exhibits annexed thereto, and all pleadings

and proceedings heretofore had before this Court, Plaintiff Wells Fargo Bank, National

Association, as trustee, on behalf of the registered holders of CSAIL 2017-CX10 Commercial

Mortgage Trust, Commercial Mortgage Pass-Through Certificates, Series 2017-CX10, and the

holder(s) of the related Companion Notes (“Plaintiff”), acting by and through its special servicer,

CWCapital Asset Management LLC, will move this Court, before the Honorable J. Paul Oetken,

United States District Court Judge for the United States District Court for the Southern District of

New York, at the United States Courthouse, Courtroom 706, 40 Foley Square, New York, New


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York 10007, at a date and time to be designated by the Court, for an Order in substantially the

form attached as Exhibit 4 to the Kapoor Declaration: (i) appointing Chad F. Sorensen as receiver;

and (ii) such other and further relief as may be just and proper.

Dated: New York, New York
       April 18, 2023                                 Respectfully submitted,

                                                      VENABLE LLP

                                                 By: /s/ Rishi Kapoor
                                                     Gregory A. Cross
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                                                     Baltimore, Maryland 21202
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                                                      Rishi Kapoor
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                                                      Counsel for Plaintiff




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